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                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF WISCONSIN
_____________________________________________________________________

WISCONSIN LABORERS PENSION FUND,
WISCONSIN LABORERS HEALTH FUND,
WISCONSIN LABORERS APPRENTICESHIP
& TRAINING FUND, AND JOHN J. SCHMITT
(in his capacity as Trustee),


                                 Plaintiffs,

      v.                                                    Case No. 20-cv-62

DYWIDAG SYSTEMS INTERNATIONAL, USA, Inc.

                Defendant.
_____________________________________________________________________

                              COMPLAINT
_____________________________________________________________________

      NOW COME the Plaintiffs, by their attorneys, The Previant Law Firm S.C, by

Christopher J. Ahrens, and as and for a cause of action against the Defendant, allege

and show to the Court the following:

                               Jurisdiction and Venue

      1.     Jurisdiction of this Court upon Defendant Dywidag Systems International,

USA, Inc. (hereinafter Dywidag Systems), is founded upon section 502 and section

301(a) of the Labor Management Relations Act of 1947 (hereafter “LMRA”) as

amended (29 U.S.C. §185(a)) of the Employee Retirement Income Security Act of 1974

(“ERISA”) (29 U.S.C. § 1132), in that the Plaintiffs are aggrieved by said Defendant’s

violation of certain collective bargaining agreements, trust plans and trust agreements,

and said Defendant’s continued refusal to submit contributions in accordance with the

terms of those plans and agreements, thereby violating provisions of ERISA, the
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Multi-Employer Pension Plan Amendments Act (“MPPAA”), the terms and provisions of

the employee benefit plans,      LMRA § 301, and the common law of the State of

Wisconsin.

       2.     Venue lies in this Court under ERISA § 502(c)(2) (29 U.S.C. § 1132(e)(2))

in that Plaintiffs are administered at the offices in Dane County Wisconsin.

                                         Parties

       3.      Plaintiffs Wisconsin Laborers Pension Fund, Wisconsin Laborers Health

Fund, Wisconsin Laborers Apprenticeship and Training Fund are employee benefit

plans within the meaning of ERISA §§ 3(1), (2), (3) and (37), 502 and 515, as amended

by the MPPAA (codified as amended at 29 U.S.C. §§ 1002(1), (2), (3) and (37), 1132

and 1145), and bring this action on behalf of the Trustees, participants and

beneficiaries of said plans. Said plans maintain offices at 4633 LIUNA Way #201, De

Forest, Wisconsin 53532.

      4.      John J. Schmitt is a trustee and beneficiary of the Wisconsin Laborers

Health Fund and as such he standing to be a plaintiff in this action. Mr. Schmitt

maintains offices at 4633 LIUNA Way, Suite 101, DeForest, Wisconsin.

         5.    Dywidag Systems, is a foreign corporation, engaged in business, with

principal offices located at 320 Marmon Drive, Bolingbrook, Illinois, 60440. Its registered

agent for service of process if Linda D. Collins, 320 Marmon Drive, Bolingbrook, Illinois,

60440.

       6.     Dywidag Systems, is a foreign corporation, engaged in business, with

principal offices located at 320 Marmon Drive, Bolingbrook, Illinois, 60440. Its registered

agent for service of process is Linda D. Collins, 320 Marmon Drive, Bolingbrook, Illinois,



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60440.

       7.       For all times relevant, Dywidag Systems, was and remains a party to

and agreed to abide by the terms of one or more collective bargaining agreements

(hereinafter “Labor Agreements”) between itself and Wisconsin Laborers District

Council of Wisconsin (hereafter referred to as the Laborers Union).

       8.     The Labor Agreements described herein contain provisions whereby

Dywidag Systems, agreed to make timely payments to the Plaintiffs’ trust funds for each

employee covered by said Labor Agreements.

       9.     By execution of said Labor Agreements, Dywidag Systems, adopted the

trust agreements and amendments thereof which establish and govern the Plaintiffs

and are necessary for their administration, and designated as its representatives on the

Board of Trustees such trustees as have been named and appointed pursuant to said

trust agreements, together with their successors selected in the manner provided in

such trust agreements, and thereby ratifying all actions already taken or to be taken

within the scope of their authority.

       10.    By virtue of executing the Labor Agreements and adopting and assenting

to all the terms and provisions of the trust agreements, and the rules and regulations

heretofore and hereafter adopted by the trustees of said trust funds, Dywidag Systems,

has agreed as follows:

              a.     to file monthly reports and make timely and prompt contributions to

                     the   Plaintiff   Funds     for   each   employee   covered   by   the

                     aforementioned Labor Agreements;

              b.     to designate, and accept as its representatives, the trustees named



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                    in the declaration of trust and their successors;

             c.     to adopt and abide by all of the rules and regulations adopted by

                    the trustees of the Funds pursuant to the trust agreements;

             d.     to adopt and abide by all of the actions of the trustees in

                    administering the Funds in accordance with the trust agreements

                    and the rules so adopted;

             e.     to pay, in addition to all of the contributions which are due and

                    owing, liquidated damages and interest relative to delinquent

                    contributions; and

             f.     to pay, in addition to delinquent contributions, interest and

                    liquidated damages, actual attorney's fees, audit fees, court costs

                    and service fees, should legal action be necessary to obtain

                    delinquent contributions, interest and liquidated damages.

      11.    Upon information and belief, Dywidag Systems, has failed to perform its

obligations pursuant to the terms and conditions of the Labor Agreements and trust

agreements by, although not necessarily limited to, the following:

             a.     failing to make continuing and prompt payments to the Funds and

                    Union as required by the Labor Agreements and trust agreements

                    for all of Dywidag Systems, covered employees; and

             b.     failing to accurately report employee work status to the Funds.

      12.    ERISA § 502(g)(2), as amended by the MPPAA provides:

              (2) In any action under this title by a fiduciary for or on
             behalf of a plan to enforce section 515 in which a judgment in
             favor of the plan is awarded, the court shall award the plan --



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             (A)    the unpaid contributions,

             (B)    interest on the unpaid contributions,

             (C)    an amount equal to the greater of --

                    (i)    interest on the unpaid contributions, or

                    (ii)   liquidated damages provided for under the plan in an
                           amount not in excess of 20 percent (or such higher
                           percentage as may be permitted under Federal of State law)
                           of the amount determined by the court under subparagraph
                           (A),

             (D)    reasonable attorney's fees and costs of this action, to be paid by
                    the defendant, and

             (E)    such other legal or equitable relief as the court deems appropriate.

For purposes of this paragraph, interest on unpaid contributions shall be determined by

using the rate provided under the plan, or, if none, the rate prescribed under section

6621 of the Internal Revenue Code of 1954.

ERISA § 515 provides:

             Every employer who is obligated to make contributions to a
             multiemployer plan under the terms of the plan or under the
             terms of a collectively bargained agreement shall, to the extent
             not inconsistent with law, make such contributions in accordance
             with the terms and conditions of such plan or agreement.

      13.    Despite demands that Dywidag Systems perform its statutory and

contractual obligations, the Plaintiff Funds have ascertained that said Defendant has

failed, neglected, omitted and refused to make those payments. Dywidag Systems, is

now indebted to the Plaintiff Funds as follows:

Audited Period December 1, 2017 to the present:

Wisconsin Laborers Pension Fund                                                 Unknown
Wisconsin Laborers Health Fund                                                  Unknown
Wisconsin Laborers Apprenticeship and Training Fund                             Unknown

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       14.    Defendant Dywidag Systems has refused to submit to a standard audit by

the representatives of the Plaintiff Funds despite the Funds' authority to perform such

an audit.

               Claim One - Against Defendant J & L Installations, LLC
             Violation of ERISA §§ 502 and 515 (29 U.S.C. §§ 1132, 1145)

       15.    As and for a first claim for relief against Dywidag Systems, the Plaintiffs

reallege each and every allegation contained in paragraphs 1 through 14 above and

incorporate the same as though fully set forth herein word-for-word.

       16.    Due demand has been made by the Funds upon Dywidag Systems, for

payment of all sums due and owing, but said Defendant has refused to pay them, or

any part thereof, and all amounts remain due and owing.

       17.    Because, as the Funds are informed and believe, Dywidag Systems, has

not made timely and prompt contributions on behalf of all covered employees, the

corpus of each of the Funds' trust funds is reduced, the Funds' income is reduced, and

their ability to pay benefits to qualified participants and beneficiaries is curtailed.

Consequently, ERISA and the Funds' employee benefit plans have been violated, and

the Funds are entitled to all of the remedies provided by ERISA.

       18.    Because Dywidag Systems, has failed to make timely and prompt

contributions, some of the Funds' beneficiaries and participants could have eligibility

terminated and benefits reduced for which they would otherwise qualify.           These

beneficiaries and participants would be left without an adequate remedy at law and

would suffer severe and irreparable harm if said Defendant is not mandatorily

compelled to comply with the Labor Agreements and enjoined from further breaches.


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      WHEREFORE, the Funds demand the following relief:

      1.     Judgment on behalf of the Funds and against the Defendant:

             A.     For unpaid contributions, interest and liquidated damages for the

                    period December 1, 2017, to the commencement of this action;

             B.      For unpaid contributions, interest and liquidated damages

                    becoming due and/or arising after the commencement of this

                    lawsuit through the date of judgment; and

             C.      Actual attorney fees and the costs of this action.

      2.     An order enjoining and restraining the Defendant, its corporate officers,

employees, agents, bonding agents, and/or sureties, attorneys or any other acting on its

behalf from collecting or converting any account receivable which is subject to any lien

the Plaintiffs may have pursuant to section 779.02(5) of the Wisconsin Statutes, for

improvements to and on real estate, until all employee wages and employee benefit

fund contributions which have become due relative to said improvements for which the

receivable was earned have been paid in full and all monies taken from the trust

created by section 779.02(5) of the Wisconsin Statutes have been fully repaid.

      3.     An order requiring Defendant to serve on the Plaintiffs' counsel, within ten

(10) days of the date of said order, a list of Dywidag Systems’ accounts receivable.

With respect to each account receivable, Defendant shall itemize:

             A.     The amount of each account receivable.

             B.     The period of time during which such receivable accrued.

             C.     The location of the premises upon which the work was performed.

             D.     The owner of the property on which Defendant performed work;



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              E.    The individual or entity with whom Defendant was contractually

                    liable to perform work;

              F.    The nature of the improvement involved for which the account

                    receivable is due.

              G.    The present outstanding amount of wages and fringe benefits still

                    owed for labor on the improvement (itemized by individual and by

                    month on each project or improvement separately).

      4.      An order directing Dywidag Systems, to submit to an audit of the

company's books and records by the Funds' designated representative for the period

December 1, 2017, to the present.

      5.      The Court should retain jurisdiction pending compliance with its orders.

      6.      For such other, further or different relief as the Court deems just and

proper.

      Dated this 22day of January 2020.


                                         s/Christopher J. Ahrens         ________
                                         Christopher J. Ahrens (SBN: 1043237)
                                         The Previant Law Firm, S.C.
                                         310 West Wisconsin Avenue, Suite 100 MW
                                         Milwaukee, WI 53203
                                         414-271-4500 (Telephone)
                                         414-271-6308 (Fax)
                                         Email: cja@previant.com

                                         Attorneys for Plaintiffs




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